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                          UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                      Case Number: 20-21707-CIV-MARTINEZ-BECERRA

  RAYMOND JAMES FINANCIAL, INC.,

         Plaintiff,

  v.

  FEDERAL INSURANCE COMPANY, et al.,

        Defendants.
  _____________________________________/

                  ORDER SETTING CIVIL TRIAL DATE AND PRETRIAL
                 SCHEDULE, REQUIRING MEDIATION, AND REFERRING
                     CERTAIN MOTIONS TO MAGISTRATE JUDGE
         Trial is scheduled to commence during the two-week period beginning Monday, October
  25, 2021 at 9:30 a.m., before Jose E. Martinez, United States District Judge, 400 N. Miami Ave.,
  Courtroom 10-1, Miami, Florida 33128. Calendar Call will be held on October 21, 2021 at 1:30
  p.m. at the same location.
         IT IS ORDERED AND ADJUDGED as follows:
         l.      No pretrial conference shall be held in this action unless the Court determines that
  a pretrial conference is necessary. Should a pretrial conference be set, the compliance deadlines as
  set forth in the remainder of this Order shall remain unaltered.
         2.      Every motion filed in this case shall be accompanied by one proposed original
  order granting the motion.
                               Pretrial Stipulations and Jury Instructions
         3.      Counsel and all pro se litigants must meet to confer on the preparation of a joint
  pretrial stipulation, which must be filed by the deadline set forth below. The stipulation shall
  conform to Local Rule 16.1(e) and include a joint, neutral summary of the claims and defenses in
  the case, not to exceed one short paragraph per litigant claim, to be read as an introduction for voir
  dire examination. The Court will not accept unilateral pretrial stipulations and will sua sponte
  strike any such submissions. Should any of the parties fail to cooperate in the preparation of the
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  joint pretrial stipulation, all other parties shall file a certification with the Court stating the
  circumstances.
         4.        The parties SHALL submit joint proposed jury instructions and/or proposed
  findings of fact and conclusions of law.
                   a. Jury Trials: For cases or claims that will be heard by a jury, the parties shall file
  a SINGLE JOINT set of proposed jury instructions and a joint proposed verdict form in
  accordance with the deadline set forth below. In preparing proposed jury instructions, the parties
  shall utilize as a guide the Pattern Jury Instructions for Civil Cases approved by the United States
  Eleventh Circuit, including the Directions to Counsel contained therein. Instructions and questions
  proposed only by the plaintiff(s) to which the defendant(s) object shall be italicized. Instructions
  and questions proposed only by the defendant(s) to which the plaintiff(s) object shall be bold-
  faced. Each jury instruction shall be typed on a separate sheet and must be supported by citations
  of authority. Each disputed jury instruction shall also state the legal basis for the objection(s) with
  citations to authority. A Word version copy of the joint proposed jury instructions and verdict
  form shall be e-mailed to martinez@flsd.uscourts.gov at the time of filing. Failure to cooperate
  in good faith and/or to submit proposed jury instructions as required by this order will result
  in appropriate sanctions being imposed upon the offending party, including dismissal of
  claims or striking of defenses.
                   b. Bench Trials: For cases or claims that will not be heard by a jury, each party
  shall file proposed findings of fact and conclusions of law in accordance with the deadline set forth
  below. Proposed findings of fact shall be supported by citations to the documentary evidence, if
  applicable. Conclusions of law shall be supported by citations of authority. Copies of each party’s
  proposed findings of fact and conclusions of law in Word format shall be e-mailed to
  martinez@flsd.uscourts.gov at the time of filing.
         5.        Exhibits: All exhibits must be pre-marked. Plaintiff’s exhibits shall be marked
  numerically. Defendant’s exhibits shall be marked alphabetically. If there are many exhibits, the
  parties may file a motion to designate all exhibits numerically (e.g., Plaintiff’s exhibits 1–99 and
  Defendant’s exhibits 100–200). A typewritten exhibit list setting forth the number, or letter, and
  description of each exhibit must be submitted at the time of trial. The parties shall submit the
  exhibit list on Form AO 187, which is available from the Clerk’s office.




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                                               Discovery
         6.      Discovery in this case shall be conducted in accordance with the Federal Rules of
  Civil Procedure and Southern District of Florida Local Rules, except the deadlines under Local
  Rules 16.1(d), (e), (h), (j), (k), and (l) may be modified by further order of the Court.
         7.      Pursuant to 28 U.S.C. § 636, all discovery motions and all motions that relate
  directly to these motions, such as motions for extension of time, motions for reconsideration,
  motions for sanctions, and motions for mental or physical examinations, are referred to United
  States Magistrate Judge Jacqueline Becerra to take all appropriate action. This Order does not
  refer any motion that requests a continuance or extension of a deadline set by this Court. The
  parties are responsible for indicating the name of the Magistrate Judge on all motions and
  related papers referred by this order in the case number caption and to comply with
  Magistrate Judge Becerra’s Discovery Procedure Order. Particularly, the parties shall not
  file any written discovery motions without the consent of Magistrate Judge Becerra.
         8.      The parties may stipulate to extend the time to answer interrogatories, produce
  documents, and answer requests for admissions. The parties shall not file with the Court notices
  or motions memorializing any such stipulation unless the stipulation interferes with the time set
  for completing discovery, hearing a motion, or trial. Stipulations that would so interfere may be
  made only with the Court’s approval.
                                       Scheduling Conference Report
         9.      Within 20 days of this Order, Counsel for the parties and pro se litigants shall meet
  in person for a scheduling conference pursuant to Local Rule 16.1(b). At this conference, the
  parties shall comply with the agenda set forth in Local Rule 16.1(b) and file a Conference Report
  within 14 days of the conference. The parties are not required to file a Joint Proposed Scheduling
  Order at this time.
         The Conference Report shall include all information required by subsections (A), (B), and
  (D) through (K) of Local Rule 16.1(b)(2). IN ADDITION TO THAT INFORMATION, THE
  REPORT SHALL INCLUDE THE FOLLOWING: (1) whether the trial will be jury or non-
  jury; (2) an outline of the legal elements of each claim and defense raised by the pleadings (the
  parties are advised that this section shall not be a summary of allegations, but should be modeled
  on pattern substantive jury instructions applicable in this Court); (3) a good-faith estimate of the
  specific dollar valuation of actual damages and other relief at issue; and (4) the need for variance



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  from the discovery limitations imposed by Local Rule and/or the Federal Rules of Civil Procedure,
  including the grounds supporting the requested variance. Unilateral submissions are prohibited.
           10.    Magistrate Jurisdiction Election Form: As part of the Conference Report, the
  parties shall jointly complete and file with the Court the Magistrate Judge Jurisdiction Election
  Form appended to this Order as Attachment A. The Court will not accept unilateral submissions
  in this regard; thus, a “Yes” should be checked only if all parties agree. If the parties consent to a
  full disposition of the case by the Magistrate Judge, including trial and entry of final judgment, the
  parties shall jointly file the election form appended to this Order as Attachment B.
           11.    The parties are to submit Certificates of Interested Parties and Corporate
  Disclosure Statements. The Plaintiff, Defendant, Intervenors, and Amicus Curiae, including
  governmental parties, SHALL FILE a Certificate of Interested Persons and Disclosure Statement,
  which shall contain a complete list of persons, associated persons, firms, partnerships or
  corporations that have a financial interest in the outcome of this case, including ALL subsidiaries,
  conglomerates, affiliates, parent corporations, and other identifiable legal entities related to a party.
  At a minimum, this list should include the parties and any counsel that have appeared in this case.
  Next to each name should be the reason why such person or entity has a financial interest in the
  outcome of this case. For example, ABC Law Firm: counsel for Plaintiff XYZ Corporation. Each
  party shall file the original Certificate by the later of (a) 15 days from the date of this order; or
  (b) if a party has not appeared in the case as of the date of this order, then such party may
  have until 15 days from the date of such party’s initial appearance. Throughout the pendency
  of this action, the parties shall be under a continuing duty to amend, correct, and update the
  Certificate. The parties SHALL NOT include the names of the assigned District Judge and
  Magistrate Judge, merely by virtue of this case being assigned to them.
           12.    The parties shall be under a continuing duty to ensure the Clerk of the Court is
  provided with the up-to-date service information.
           13.    In order to facilitate the accurate transcription of the trial proceeding, the parties
  shall provide the Court Reporter, Dawn Savino, at 400 N. Miami Ave., Suite 10-1, Miami,
  Florida, 33128, Dawn_Savino@flsd.uscourts.gov with a copy or an email of: (a) the witness and
  exhibit lists, (b) a designation of unique proper nouns/names which may be used at trial, and (c) a
  list of the names of all attorneys who will participate in the trial, to be received no later than
  THREE (3) DAYS before calendar call.
     14.     If the case is settled, the parties are directed to immediately inform the Court at (305) 523-


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5590 and file a notice of settlement. If the parties fail to notify the Court that they have settled before the
Court requests a jury pool, the parties shall be liable for the costs incurred in summoning a jury.
       15.     Mediation Required: In accordance with the deadline set forth below, the parties shall select
a mediator certified under Local Rule 16.2(b) and schedule a time, date, and place for mediation. It is not
necessary for the parties to file a motion requesting the Court to enter an order scheduling the mediation for
this specific time, date, and place. If the parties cannot agree on a mediator, they shall notify the Clerk in
writing as soon as possible, and the Clerk shall designate a certified mediator on a blind-rotation basis.
Counsel and all pro se litigants shall familiarize themselves with and adhere to all provisions of Local Rule
16.2. The parties shall complete mediation in accordance with the deadline set forth below. The parties shall
notify the Court of the results of the mediation (settled, impasse or adjourned to continue discussions) within
FIVE (5) DAYS of the conclusion of the mediation.
                                         SCHEDULING ORDER
The following timetable shall govern the pretrial procedures in this case. This schedule shall not be modified
absent compelling circumstances. All motions for an enlargement of time for discovery and relating to
dispositive motions must include a statement as to whether the requested extension will affect the trial
date or any other deadline set forth in this timetable. Failure to include such a statement may be grounds
for denial of the motion.

        7-9-2021                All discovery, including expert discovery, shall be completed.

        7-23-2021               Mediation shall be completed.

        7-30-2021               All Daubert, summary judgment, and other dispositive motions must be
                                filed. Each party is limited to filing a single Daubert motion of no more
                                than 20 pages. Summary judgment motions, in addition to containing a
                                Statement of Material Facts pursuant to Local Rule 56.1(a), shall be
                                accompanied by a separately-filed Joint Statement of Undisputed Fact,
                                which must include all relevant facts about which there is no material
                                dispute. Each undisputed fact shall be individually numbered and separated
                                by paragraphs. This filing is limited to 10 pages and does not otherwise
                                change the parties’ obligation to comply with Local Rule 56.1.

                                Note: If there are any unresolved discovery disputes pending fifteen days
                                prior to this date, the moving party shall immediately advise the Court of
                                all such unresolved disputes together with their status.

        9-6-2021                All pretrial motions and memoranda of law must be filed. Each party is
                                limited to filing a single motion in limine, which may not, without leave of
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                                Court, exceed the 20-page limit allowed by the Rules.

        9-27-2021               Joint Pretrial Stipulation must be filed.

        10-18-2021              Proposed jury instructions and/or proposed findings of fact and conclusions
                                of law must be filed.

        10-20-2021              Proposed voir dire questions must be filed.

       Failure to comply with this or any order of this Court, the Local Rules, or any other applicable
rule may result in sanctions, including dismissal without prejudice or the entry of a default, without
further notice.

       It is the duty of all counsel and pro se litigants to enforce the timetable set forth here to ensure an
expeditious resolution of this cause.

       DONE AND ORDERED in Chambers at Miami, Florida, this 22nd day of June, 2021.




                                                      ____________________________________
                                                      JOSE E. MARTINEZ
                                                      UNITED STATES DISTRICT JUDGE

Copies provided to:
Magistrate Judge Becerra
All Counsel of Record




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                                              [Attachment A]

                            UNITED STATES DISTRICT COURT FOR THE
                               SOUTHERN DISTRICT OF FLORIDA

                                     CASE NO. -CIV-MARTINEZ

,
        Plaintiff,

vs.

,
      Defendant.
_____________________________________/

                  ELECTION TO JURISDICTION BY A UNITED STATES
               MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

        In accordance with the provisions of 28 U.S.C. §636(c), the undersigned parties to the above-
captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate Judge
decide the following motions and issue a final order or judgment with respect thereto:
1.                    Motions for Costs                     Yes _____      No _____
2.                    Motions for Attorney’s Fees           Yes _____      No _____
3.                    Motions for Sanctions                 Yes _____      No _____
4.                    Motions to Dismiss                    Yes _____      No _____
5.                    Motions for Summary Judgment          Yes _____      No _____
6.                    Discovery                             Yes _____      No _____
7.                    Other (specify) _______________________________________

        ____________                          ________________________________________
        (Date)                                (Signature--Plaintiff’s Counsel)

        ____________                          ________________________________________
        (Date)                                (Signature--Plaintiff’s Counsel)

        ____________                          ________________________________________
        (Date)                                (Signature--Defendant’s Counsel)

        ____________                          ________________________________________
        (Date)                                (Signature--Defendant’s Counsel)
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                                           [Attachment B]

                          UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. -CIV-MARTINEZ

,
        Plaintiff,

vs.

,
      Defendant.
_____________________________________/

                           ELECTION TO JURISDICTION BY A
                     UNITED STATES MAGISTRATE JUDGE FOR TRIAL

        In accordance with the provisions of 28 U.S.C. §636(c), the undersigned parties to the above-
captioned civil matter hereby jointly and voluntarily elect to have a United States Magistrate Judge
conduct any and all further proceedings in the case, including TRIAL, and entry of final judgment with
respect thereto.

      ____________                        __________________________________
      (Date)                              (Signature--Plaintiff’s Counsel)

      ____________                        __________________________________
      (Date)                              (Signature--Plaintiff’s Counsel)

      ____________                        __________________________________
      (Date)                              (Signature--Defendant’s Counsel)

      ____________                        __________________________________
      (Date)                              (Signature--Defendant’s Counsel)
